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                     EXHIBIT A
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                                                           EFiled: May 27 2021 12:20PM EDT
                                                           Transaction ID 66637034
                                                           Case No. N21C-05-161 AML
                  Sheriff's Office                                          State of Delaware
                  800 N. French Street, 5th Floor                          New Castle County
                  Wilmington, Delaware 19801                                Scott T. Phillips
                  302-395-8450, Fax: 302-395-8460                                Sheriff


                                                                          5/27/2021
Court Case # N21C-05-161 AML
Sheriff # 21-003031


                                      ROBERT M. SKLAR
                                             vs
                                     LEWIS BELLAFIORE


        Robert Setting, being duly sworn, deposes that he/she is a Deputy Sheriff and avers that
he/she served LEWIS BELLAFIORE by leaving upon DYLAN THOMAS, MANAGER at 900
CENTER BOULEVARD S C/O COSTCO NEWARK, DE 19702 , on 5/24/2021 at 8:09 AM a
copy of Summons and Complaint.




Fees Paid: $30.00

Per Deputy Sheriff, Robert Setting

SO ANS;




         SHERIFF

Per Dianne Roy
